





















Opinion issued October 7, 2010



In The

Court of
Appeals

For The

First District
of Texas

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NO. 01-09-00774-CV

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JENNIFER
KEGRESSE, Appellant

V.

DEPARTMENT OF FAMILY AND PROTECTIVE
SERVICES, Appellee



&nbsp;



&nbsp;

On Appeal from the 247th District Court
Harris County, Texas



Trial Court Cause No. 2008-10235

&nbsp;



&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant, Jennifer Kegresse, has neither established
indigence, nor paid all the required fees.&nbsp;
See Tex. R. App. P.
5 (requiring payment of fees in civil cases unless indigent), 20.1 (listing
requirements for establishing indigence); see also Tex. Gov’t Code Ann. §§ 51.207,
51.941(a), 101.041 (Vernon Supp. 2004) (listing fees in court of appeals); Fees Civ. Cases B(1), (3) (listing fees
in court of appeals).&nbsp; After being
notified that this appeal was subject to dismissal, appellant Jennifer Kegresse,
did not adequately respond.&nbsp; See Tex. R. App. P. 5 (allowing enforcement
of rule); 42.3(c) (allowing involuntary dismissal of case).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
dismiss this appeal for nonpayment of all required fees.&nbsp; All pending motions are denied.

PER CURIAM

Panel
consists of Chief Justice Radack and Justices Alcala and Massengale.

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